                         Case 1-18-45675               Doc 1-1     Filed 10/01/18            Entered 10/01/18 14:36:48



      Fill in this information to identify the case:

                    STRENGTH OF A WOMAN, INC.
      Debtor name __________________________________________________________________

      United States Bankruptcy Court for the: Eastern                            NEW YORK
                                              ______________________ District of _________

      Case number (If known):   _________________________
                                                                           (State)
                                                                                                                                        Check if this is an
                                                                                                                                            amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and   Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor     (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                       debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

1
       Symonous Harris                       1782 Nostrand Ave
                                              Brooklyn, NY 11226
2
        Harry Whyte                          839 East 57th St.

                                                Brooklyn, NY 11234
3
        Bernstein 7 Corporation                 839 East 57th St.                                                                                         12,000
                                                Brooklyn, NY 11234
4
           Vonage                              662 61St St.,
                                               West New York, NJ 07093
5
                                                201 875 2320



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8




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
                        Case 1-18-45675            Doc 1-1       Filed 10/01/18           Entered 10/01/18 14:36:48



    Debtor       _______________________________________________________                       Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

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    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 2
